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AO 91 (Rev. 11/11) Criminal Complaint
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_Boumem ses fees UNITED:STATES DISTRIGP COURT «=~

OCT 34 nig ee for the oo

“ Southern District of Texas

David J. Bradley, Clerk

 

 

 

 

United States of America )
v. )
- o\ Juan Marcus LAUREL, YOB: 1975 (USA) )  CaseNo. M-1Q-Z2600-M
-@ 2 Ruben ALANIZ, YOB: 1962 (USA)
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of 10/30/2019 in the county of Duval in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description
21 USC 846 Conspiracy to Possess with the Intent to Distribute and Possession with
21 USC 841 Intent to Distribute Cocaine, approximately 45.95 kilograms, a schedule II

controlled substance.

This criminal complaint is based on these facts:

(See Attachment 1).

1) Continued on the attached sheet. ‘
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“Robut vil 4 hun Complainant's signature
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Christopher Donahue, DEA Special Agent .

Printed name and title

Sworn to before me-and signed in my presence.

Date: 10/31/2019 -§ B sank, C)

    

 

CA

Judge’s signature

City and state: McAllen, Texas Juan F. Alanis, U.S. Magistrate Judge

Printed name and title

 
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ATTACHMENT 1

. From October 22, 2019 through October 30, 2019, DEA and U.S. Border Patrol Agents
observed that a tractor with an attached flatbed trailer, displaying TX/LP: Y45439,
registered to Juan LAUREL was parked at a property associated with Ruben ALANIZ in
Rio Grande City, Texas. The flatbed trailer, displaying TX/LP: Y45439 was previously ~
registered to ALANIZ. On numerous occasions agents have observed ALANIZ at this
property. Furthermore, agents have observed that ALANIZ appears to be the caretaker
and owner of the property.

. On October 30, 2019, at approximately 8:00 p.m., agents observed that the tractor-trailer
had left the property associated to Ruben ALANIZ and travel north from Rio Grande
City, Texas towards Freer, Texas.

. At approximately 10:21 p.m., a Freer, Texas Police Department Officer conducted an
independent probable cause vehicle stop on the tractor-trailer for a traffic violation. Juan
LAUREL was subsequently identified as the tractor-trailer’s driver and sole occupant.
During the stop, a Border Patrol K-9 officer conducted an exterior sniff of the tractor-
trailer and alerted to the presence of narcotics in the flatbed trailer. During a subsequent
search of the tractor-trailer agents located a concealed compartment in a tool box attached
to the undercarriage of the trailer. In the compartment, agents located 39 brick shaped
packages, weighing approximately 45.95 kilograms. The outside of the brick packages
were wet and smelled like diesel fuel. Liquid which smelled like diesel fuel was present
at the bottom of the concealed compartment. A field test of a sample from one of the
packages tested positive for the characteristics and properties of cocaine which is a
Schedule II Controlled Substance.

. During a recorded Mirandized post-arrest interview, LAUREL stated that ALANIZ
transferred ownership of ALANIZ’s flatbed trailer to LAUREL for the purposes of
smuggling cocaine for ALANIZ. LAUREL stated that on October 30, 2019, he picked
up his tractor and flatbed trailer which contained cocaine from a property owned by
ALANIZ in Rio Grande City, Texas and was going to deliver the cocaine to San Antonio,
Texas. LAUREL stated that ALANIZ was present when LAUREL picked up his tractor-
trailer and subsequently provided him with $400 for fuel expenses for his trip to San
Antonio, Texas. LAUREL stated that the flatbed trailer was loaded with cocaine prior to .
LAUREL picking up the trailer on October 30, 2019 and that he believed the flatbed
trailer was loaded with cocaine at ALANIZ’s property. LAUREL stated that ALANIZ
previously told him he was transporting cocaine on his trips to San Antonio, Texas.
LAUREL stated that he was going to be paid $6,000.00 by ALANIZ for transporting the |
cocaine. LAUREL stated that he has transported cocaine for ALANIZ on multiple
occasions in the past and was paid between $3,000 and $6,000 per trip by ALANIZ.

. On October 30, 2019, agents executed a federal search warrant at the property associated
to ALANIZ and the same property where the flatbed trailer was parked priorto LAUREL _
picking it up and leaving for Freer, Texas. At the property agents observed packaging -
material consistent with narcotics trafficking activities.
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6. On October 30, 2019, agents arrested ALANIZ in Rio Grande City, Texas. ALANIZ
stated that his daughter owned the property where the LAUREL’s tractor-trailer was
previously parked, however his daughter doesn’t live there. .
